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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

BHUPENDRA PATEL, et al.,                      §
                                              §
       Plaintiffs,                            §
                                              §
v.                                            §           Civil Action No. 3:12-CV-0400-N
                                              §
JANET NAPOLITANO, et al.,                     §
                                              §
       Defendants.                            §

                                   FINAL JUDGMENT

       By separate Order of this same date, the Court granted the summary judgement of

Defendants Janet Napolitano, Secretary, Department of Homeland Security; Gregory

Richardson, Director, Texas Service Center, United States Citizenship and Immigration

Services; Gregory Collett, District Director, USCIS, Baltimore, Maryland; Alejandro

Mayorkas, Director, USCIS; and Eric Holder, United States Attorney General (collectively,

“USCIS”) [doc. 28]. The Court accordingly orders that Plaintiffs Bhupendra Patel, Kalavati

Patel, Trishna Patel, and Tilak Patel (collectively, the “Patels”) take nothing by their claims

against Defendants, and the Court dismisses those claims without prejudice. Court costs are

taxed against the Patels. All relief not expressly granted is denied. This is a final judgment.

       Signed March 28, 2014.



                                                   _________________________________
                                                             David C. Godbey
                                                        United States District Judge




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